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                        UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TEXAS
                                BEAUMONT DIVISION


 UNITED STATES OF AMERICA                    §
                                             §
 VS.                                         §          NO. 9:04-CR-20-7
                                             §
 LAWRENCE PENNINGTON                         §


       REPORT AND RECOMMENDATION RE: PETITION FOR WARRANT
           OR SUMMONS FOR OFFENDER UNDER SUPERVISION


        Pending is a “Petition for Warrant or Summons for Offender Under

 Supervision,” filed March 23, 2006, alleging that defendant violated conditions of

 supervised release. This matter is referred to the undersigned United States magis-

 trate judge for review, hearing, and submission of a report with recommended

 findings of fact and conclusions of law. See United States v. Rodriguez, 423 F.3d

 919, n. 1 (5th Cir. 1994); see also 18 U.S.C. § 3401(i) (2000); and Local Rules for

 the Assignment of Duties to United States magistrate judges.


                      I. The Original Conviction and Sentence


        Defendant was sentenced on June 27, 2005, before The Honorable Ron Clark,

 U.S. District Judge of the Eastern District of Texas, after pleading guilty to the

 offense of transporting illegal aliens, a Class C felony. This offense carried a statu-

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 tory maximum imprisonment term of 10 years. The guideline imprisonment range,

 based on a total offense level of 13 and a criminal history category of III, was 18 to

 24 months. Defendant was subsequently sentenced to 14 months imprisonment

 followed by 3 years supervised release subject to the standard conditions of release,

 plus special conditions to include drug aftercare; mental health aftercare; and

 financial disclosure.


                            II. The Period of Supervision


        On June 29, 2005, defendant completed his period of imprisonment and began

 service of the supervision term.


                                      III. The Petition


        United States Probation filed the pending Petition for Warrant or Summons

 for Offender Under Supervision on March 23, 2006. The petition alleges that

 defendant violated the following conditions of release:

        Mandatory Condition:               Defendant shall participate in a program of
                                           testing and treatment for drug abuse as
                                           directed by the U.S. Probation Office.

        Mandatory Condition:               Defendant must pay to the United States a
                                           special assessment of $100.




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       Standard Condition:               Defendant shall report to the U.S. Probation
                                         Office as directed by the Court or probation
                                         officer, and shall submit a truthful and com-
                                         plete written report within the first five days of
                                         each month.

       Standard Condition:               Defendant shall notify the probation officer ten
                                         days prior to any change of residence or
                                         employment.

       Special Condition:                Defendant shall participate in any combination
                                         of psychiatric, psychological, or mental health
                                         treatment as directed by the probation officer.


       As grounds, the petition alleges: (1) that defendant failed to report to Proba-

 tions, as instructed, on January 4, 2006 and January 20, 2006; (2) that defendant

 failed to submit a truthful and complete written report in December 2005 and

 January 2006; (3) that defendant failed to notify his probation officer when his

 employment with Tyson’s Foods was terminated; (4) that defendant failed to notify

 his probations officer ten days prior to his change of address; (5) that defendant

 failed to report to the Alcohol & Drug Abuse Counsel (ADAC) in Lufkin, Texas on

 nine separate occasions; (6) that defendant has not paid his special assessment of

 $100 to the United States; and (7) that defendant failed to report to a psychiatric

 evaluation on December 6, 2005.


                                   IV. Proceedings


       On March 31, 2006, the undersigned United States Magistrate Judge con-

 vened a hearing pursuant to Rule 32.1, Federal Rules of Criminal Procedure, to hear
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 evidence and argument on whether defendant violated conditions of supervised

 release. If so, the hearing would also consider the appropriate course of action.


       At the revocation hearing, counsel for the government and the defendant

 announced an agreement as to a recommended disposition. Defendant would agree

 to plead “true” to the allegation that he violated a standard condition of supervised

 release by failing to report to Probations, as instructed, on January 4, 2006, and

 January 20, 2006, and by failing to submit a truthful and complete written report in

 December 2005 and January 2006. In exchange for defendant’s plea of “true,” the

 court should revoke defendant’s supervised release and impose eight (8) months

 imprisonment; followed by no additional period of supervised release. Further, the

 government agreed to decline to proceed with remaining alleged violations of super-

 vised release conditions.


       After announcing their agreement, defendant pleaded “true” to the allegation

 that he violated a standard condition of supervised release by failing to report to

 Probations, as instructed, on January 4, 2006 and January 20, 2006, and by failing to

 submit a truthful and complete written report in December 2005 and January 2006.


                               V. Principles of Analysis


       Upon finding by a preponderance of the evidence that a defendant has violated

 a term of supervised release, pursuant to 18 U.S.C. § 3583(e)(3) the court may

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 revoke the term of supervised release and require defendant to serve in prison all or

 part of the term of supervised release without credit for time served on post-release

 supervision. The original offense of conviction was a Class C felony; therefore, the

 maximum term of imprisonment authorized under 18 U.S.C. § 3583(e)(3) is two

 years.


          According to U.S.S.G. § 7B1.1(a), if the court finds by a preponderance of the

 evidence that defendant violated a condition of supervision by failing to report to

 Probations, as instructed, on January 4, 2006 and January 20, 2006, and by failing to

 submit a truthful and complete written report in December 2005 and January 2006,

 defendant will be guilty of committing a Grade C violation. U.S.S.G. § 7B1.3(a)(2)

 indicates upon a finding of a Grade C violation, the court may (A) revoke probation

 or supervised release; or (B) extend the term of probation or supervised release and/or

 modify the conditions of supervision. U.S.S.G. § 7B1.4(a) provides that in defen-

 dant’s case a revocation of supervised release based on a Grade C violation and a

 criminal history category of III, the guideline imprisonment range is 5 to 11 months.


          18 U.S.C. §§ 3583(e) and 3553(a) provide that in determining sentence, the

 court shall consider:

          1.    The nature and circumstance of the offense and the history and
                characteristics of the defendant; see 18 U.S.C. § 3553(a)(1);




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       2.     The need for the sentence imposed to afford adequate deterrence to
              criminal conduct; to protect the public from further crimes of the
              defendant; and to provide the defendant with needed educational or
              vocational training, medical care, other corrective treatment in the most
              effective manner; see 18 U.S.C. §§ 3553 (a)(2)(B)-(D);

       3.     Applicable guidelines and policy statement issued by the Sentencing
              Commission, for the appropriate application of the provisions when
              modifying or revoking supervised release pursuant to 28 U.S.C. §
              994(a)(3), that are in effect on the date the defendant is sentenced; see
              18 U.S.C. 3553(a)(4); see also 28 U.S.C. § 924(A)(3);

       4.     Any pertinent policy statement issued by the Sentencing Commission,
              pursuant to 28 U.S.C. § 994(a)(2), that is in effect on the date the
              defendant is sentenced; see 18 U.S.C. § 3553(a)(5); and

       5.     The need to avoid unwarranted sentence disparities among defendants
              with similar records who have been found guilty of similar conduct; see
              18 U.S.C. § 3553(A)(6).


                                    VI. Application


       The undersigned has carefully considered each of the five factors listed in 18

 U.S.C. §§ 3583(e) and 3553(a).


 Findings:


       Defendant pleaded “true” to an alleged violation of a standard condition:

 failing to report to Probations, as instructed, on January 4, 2006, and January 20,

 2006, and failing to submit a truthful and complete written report in December 2005

 and January 2006. Based upon defendant’s plea of “true” to this allegation and

 U.S.S.G. § 7B1.1(a), defendant violated this standard condition of supervised release


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 in the manner alleged in the petition. Defendant’s violation is a Grade C violation

 with policy guidelines suggesting 5 to 11 months imprisonment upon revocation.


 Conclusion:


        Defendant has demonstrated inability to adhere to conditions of supervision.

 Defendant did not comply with a condition of his supervision by failing to report as

 instructed by Probations. As such, incarceration appropriately addresses defendant’s

 violations.


                                RECOMMENDATIONS


        1.     The court should find that defendant violated the condition of
               supervised release by failing to report to Probations, as instructed,
               on January 4, 2006 and January 20, 2006, and by failing to submit
               a truthful and complete written report in December 2005 and
               January 2006, in the manner alleged in the petition.

        2.     The petition should be granted and defendant’s supervised release
               should be revoked pursuant to 18 U.S.C. § 3565.

        3.     Defendant should be sentenced to a term of imprisonment of
               eight (8) months, with no further supervision thereafter.

        4.     Defendant should be placed in confinement at the Federal Correc-
               tional Institution in Texarkana, Texas.


                                      OBJECTIONS


        At the close of the revocation hearing, defendant, defense counsel, and counsel

 for the government each signed a standard form waiving their right to object to the

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 proposed findings and recommendations contained in this report, consenting to

 revocation of supervised release as recommended herein. Therefore, the court may

 act on the report and recommendation immediately.



                     4 day of April, 2006.
       SIGNED this _____




                                       __________________________________________
                                       Earl S. Hines
                                       United States Magistrate Judge




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